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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 In re:                                            )
                                                   )
 JEROME ALAN JOHNSON and                           )          Case No. 19-12437-BFK
 MICHELE ANITA JOHNSON,                            )          Chapter 7
                                                   )
                   Debtor(s).                      )
 ___________________________________
                                                   )
                                                   )
 DONALD F. KING,
 as Chapter 7 Trustee,                             )          Adversary Proceeding
                                                   )          No. 21-01046-BFK
                          Plaintiff,               )
 v.                                                )
                                                   )
                                                   )
 MARY ELLA JOHNSON,                                )
 EMERI M. JOHNSON,                                 )
 GABRIELLE A. JOHNSON, and                         )
 LEGACY WEALTH PROPERTIES, LLC,                    )
                                                   )
                          Defendants.
                                                   )

                                ORDER DENYING PLAINTIFF’S
                                MOTION FOR LEAVE TO FILE
                               SECOND AMENDED COMPLAINT

          This matter comes before the Court on the Plaintiff’s Motion for Leave to file a Second

Amended Complaint. (Docket No. 71). For the reasons stated below, the Court will deny the

Motion.

          Under Bankruptcy Rule 7015 (incorporating Federal Rule of Civil Procedure 15), leave

to amend a complaint shall be liberally granted. Fed. R. Civ. P. 15(a)(2). Leave to amend should

be granted unless there is “undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the




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opposing party by virtue of allowance of the amendment, [or] futility of amendment.” Foman v.

Davis, 371 U.S. 178, 182 (1962).

       The Plaintiff filed this adversary proceeding on July 22, 2021. (Docket No. 1). Discovery

has been extended, and the final pre-trial conference has been continued, twice now. (Docket

Nos. 34, 65). The final pre-trial conference is set for June 6, 2022. If the Court were to allow the

Second Amended Complaint, it would have to continue the final pre-trial conference a third time,

and allow another three or four months for discovery for the new Defendant. The Court is not

suggesting that the Trustee has been dilatory here. Rather, the Court has no confidence that the

eventual setting of a trial won’t be delayed by further transfers of the property.

       The Court, therefore, will deny the Motion. The Trustee is free to file a separate

adversary proceeding with respect to the latest transfer of the property.

       It is therefore ORDERED:

 A. The Plaintiff’s Motion for Leave to file a Second Amended Complaint (Docket No. 71) is

     denied.

 B. The Clerk will mail copies of this Order, or will provide cm-ecf notice of its entry, to the

     parties below.

Date: May 18 2022
      _____________________                    /s/ Brian F Kenney
                                              ___________________________________
                                              The Honorable Brian F. Kenney
Alexandria, Virginia                          United States Bankruptcy Judge

                                              Entered On Docket: May 18 2022




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